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                        Female Athletes United,

                                    v.

  Keith Ellison, in his official capacity as Attorney General of Minnesota;
Rebecca Lucero, in her official capacity as Commissioner of the Minnesota
  Commission on Civil Rights; Erich Martens, in his official capacity as
Executive Director of the Minnesota State High School League; Willie Jett,
    in his official capacity as the Minnesota Commissioner of Education;
   Independent School District No. 11 School Board; Independent
 School District No. 192 School Board; Independent School District
                            No. 279 School Board.

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